Case 1:24-cv-00008-DAE Document 22 Filed 02/07/24 Page 1 of 4

                                                            FILED
                                                      February 07, 2024
                                                     CLERK, U.S. DISTRICT COURT
                                                     WESTERN DISTRICT OF TEXAS

                                                                    ps
                                                  BY: ________________________________
                                                                          DEPUTY
           Case 1:24-cv-00008-DAE Document 22 Filed 02/07/24 Page 2 of 4




                                                  ORDER

        Before the Court is Carl Starr’s (“Starr”) Motion for Leave to File a Motion

to Intervene, (Dkt. 28).1 Plaintiffs American Gateways, County of El Paso, Texas,

and Las Americas Immigrant Advocacy Center (“Plaintiffs”) filed a response in

opposition, (Dkt. 36). Starr filed a motion for leave to file a reply, (Dkt. 43).

Having considered the parties’ briefing, the record, and the relevant law, the Court

will deny both motions.

                                           I. BACKGROUND

        Plaintiffs challenge the constitutionality of a new state law, Senate Bill 4

(88th Leg. (4th special session)) (“SB 4”), which authorizes Texas state officials to

arrest, detain, and order the deportation of noncitizens. (Compl., Dkt. 1, at 1).

Plaintiffs allege that SB 4 violates the Supremacy Clause of the United States

Constitution and seek a preliminary injunction before the law takes effect on

March 5, 2024. (Id. at 2). One of the Plaintiffs seeking to enjoin the law is the

County of El Paso, Texas (“El Paso County”) (Id.).

        Starr, who is proceeding pro se, alleges that he is a party to a settlement

agreement between himself and El Paso County which forbids the County from

enforcing federal immigration laws. (Compl. in Intervention, Dkt. 28-2, at 1). He



1
 Starr filed his motion to intervene in the consolidated member case: Las Americas Immigrant Advocacy Center v.
McCraw, No. 1:23-CV-1537-DAE (W.D. Tex. filed Dec. 19, 2023). All docket citations shall be to the member
case. The motion was filed and briefed prior to the Court’s order consolidating the cases. (Dkt. 45).


                                                       2
            Case 1:24-cv-00008-DAE Document 22 Filed 02/07/24 Page 3 of 4




seeks permissive intervention,2 arguing that allowing SB 4 to take effect would

violate the settlement agreement between himself and El Paso County. (Id. at 2).

                                          II. LEGAL STANDARD

         Starr seeks only to intervene under Rule 24(b)(2), which deals with

permissive intervention. Permissive intervention “is wholly discretionary with the

district court . . . even though there is a common question of law or fact, or the

requirements of Rule 24(b) are otherwise satisfied.” New Orleans Pub. Serv., Inc.

v. United Gas Pipe Line Co., 732 F.2d 452, 470–71 (5th Cir. 1984) (“NOPSI”)

(quoting Wright & Miller, Federal Practice and Procedure: Civil § 1913 at 551)

(cleaned up). Permissive intervention depends, in part, on “whether the

intervenors’ interests are adequately represented by other parties and whether they

will significantly contribute to full development of the underlying factual issues in

the suit.” Id. at 472.

                                               III. DISCUSSION

         The Court’s brief analysis begins and ends with the fact that Starr is

adequately represented by the existing parties. Both Plaintiffs and Starr have the

same objective—to enjoin SB 4 from taking effect. See Hopwood v. Texas, 21 F.3d

603, 605 (5th Cir. 1994) (denying intervention where proposed intervenors had



2
 Rather than file a motion for leave to file a complaint in intervention, Starr filed a motion for leave to file a motion
for leave to file a complaint in intervention. (Mot., Dkt. 28). Because the extra layer of leave is superfluous, the
Court construes Starr’s filing as a motion for leave to file a complaint in intervention.


                                                            3
             Case 1:24-cv-00008-DAE Document 22 Filed 02/07/24 Page 4 of 4




same goal as party to the case). Starr has identified no divergent interest between

himself and Plaintiffs. Nor is there any indication that the existing Plaintiffs cannot

adequately defend Starr’s interest. NOPSI, 732 F.2d at 473 (denying permissive

intervention because “intervenors’ interests are adequately represented by other

parties”). To the contrary, allowing Starr to intervene would only serve to

complicate the litigation and delay resolution of the preliminary injunction motions

before SB 4 takes effect on March 5. Accordingly, the Court will deny the motion

to intervene.

                                           IV. CONCLUSION

          IT IS ORDERED that the motion for leave, (Dkt. 28),3 is DENIED. The

motion for leave to file a reply, (Dkt. 43), is DISMISSED AS MOOT.

                   DATED: Austin, Texas, February 7, 2024.




                                                  _______________________________
                                                  DAVID A. EZRA
                                                  SENIOR UNITED STATES DISTRICT JUDGE




3
    As filed in the member case, No. 1:23-CV-1537-DAE.


                                                         4
